









Dismissed and Opinion filed April 24, 2003









Dismissed and Opinion filed April 24, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00290-CV

____________

&nbsp;

ROBERT
J. STEINERT and OLYMPIC FUNDING, Appellants

&nbsp;

V.

&nbsp;

PACIFIC
GUARANTEE MORTGAGE and ABSOLUTE DIRECT, LLC, Appellees

&nbsp;



&nbsp;

On
Appeal from the 234th District Court

Harris
County, Texas

Trial
Court Cause No. 01-07453

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed December 2,
2002.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On March 21, 2003, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellants filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed April 24, 2003.

Panel consists of Justices
Anderson, Seymore, and Guzman.

&nbsp;





